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                      UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                 Eastern Division

Elisa Wolter, et al.
                                     Plaintiff,
v.                                                    Case No.: 1:16−cv−04205
                                                      Honorable Robert W. Gettleman
Anselmo Lindberg Oliver LLC
                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, July 24, 2017:


        MINUTE entry before the Honorable Robert W. Gettleman:Motion for extension
of time is granted. Response to defendant's motion for summary judgment is due by
7/28/2017. Reply is due by 8/11/2017. Telephone notice (gds)




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